                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WISCONSIN


THE WELLNESS WAY, LLC,

                       Plaintiff,

                v.                                            Case No. 24-C-497

SYBERRY CORPORATION,

                       Defendant.


                            ORDER TO SUPPLEMENT RECORD


       This case was removed from Brown County Circuit Court with jurisdiction being asserted

under 28 U.S.C. § 1332. Because the citizenship of the LLC plaintiff was not clear from the Notice

of Removal, the court issued a Notice of Jurisdictional Defect on April 30, 2024, directing the

defendant to file an amended removal notice stating the state of citizenship of each of Plaintiff’s

members within the next ten days. On May 9, 2024, Defendant filed an Amended Notice of

Removal indicating that, on information and belief, none of the defendant’s members were citizens

of the state of Texas, which was the defendant’s state of citizenship. The basis of the defendant’s

information and belief consisted of an email from counsel for the plaintiff in which counsel stated

that he was advised that his “client has many members, dozens and some of those are LLCs, but

believes that none of the owners of these LLCs are citizens of Texas as you asked me to confirm.”

Dkt. 12 at 2.

       While that statement is sufficient to form information and belief necessary for the

defendants to, in good faith, remove the case, the court concludes that more precise information is

necessary for the case to proceed. Accordingly, counsel for the plaintiff is directed to file with the




         Case 1:24-cv-00497-WCG Filed 07/02/24 Page 1 of 2 Document 24
court, within the next ten days, a declaration or affidavit setting forth the states of citizenship of

each member of the LLC he represents. In light of the court’s obligation to police its jurisdiction,

the court concludes that such information is necessary before it proceeds to decide the motions

currently pending before the court.

       SO ORDERED at Green Bay, Wisconsin this 2nd day of July, 2024.



                                                      s/ William C. Griesbach
                                                      William C. Griesbach
                                                      United States District Judge




                                                  2

         Case 1:24-cv-00497-WCG Filed 07/02/24 Page 2 of 2 Document 24
